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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.      CV 22-4355-JFW(JEMx)                                                 Date: May 26, 2023

Title:        Yuga Labs, Inc. -v- Ripps, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                   None Present
              Courtroom Deputy                                 Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                  None

PROCEEDINGS (IN CHAMBERS):                 ORDER RE: PRE-TRIAL EXHIBIT STIPULATION AND
                                           JOINT EXHIBIT LIST

       The Pre-Trial Exhibit Stipulation and the Joint Exhibit List, filed on May 25, 2023 (Docket
Nos. 251 and 252), are STRICKEN for failure to adequately describe each trial exhibit. See Local
Rule 16-6.1. Counsel shall re-file the Pre-Trial Exhibit Stipulation and the Joint Exhibit List on or
before May 29, 2023. The Revised Pre-Trial Exhibit Stipulation and Revised Joint Exhibit List shall
contain a full and complete description of each exhibit in accordance with the examples set forth in
Local Rule 16-6.1. In addition, the grounds for each objection shall be fully stated in the Revised
Pre-Trial Exhibit Stipulation and counsel shall not use abbreviations.

       The Court also concludes that the majority of the objections are frivolous and not made in
good faith. Accordingly, the Court orders lead counsel for the parties to meet and confer in
person to resolve the objections to the exhibits. Prior to the conference, counsel shall exchange
the exhibits that are identified in the Revised Pre-Trial Exhibit Stipulation. At the conference,
counsel shall review each of the exhibits to which there is a objection and attempt to resolve the
objection. After the conference, counsel shall, on or before June 1, 2023, file a joint statement,
advising the Court that all of the objections have been resolved. In the unlikely event, that the
parties cannot resolve all of the objections, the parties shall, on or before June 1, 2023, file a joint
statement in the following format:

    JOINT STATEMENT RE: OBJECTIONS IN REVISED PRE-TRIAL EXHIBIT STIPULATION

       The parties were able to resolve the objections identified in the Revised Pre-Trial Exhibit
Stipulation as to Exhibit Nos. [e.g., 26, 27, 28, etc.]. The parties were not able to resolve the
objections identified in the Revised Pre-Trial Exhibit Stipulation as to the following Exhibits:



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Plaintiff’s Exhibit #1: [Description and identity of witness from stipulation ]

       Defendants’ Grounds for the Objection : [Cite the grounds and authority for the
       objection, e.g., Hearsay under Fed. R. Evid. 801 and 802; Unfairly Prejudicial under
       Fed. R. Evid. 403].

       Plaintiff's Response to the Objection: [e.g., This document is not hearsay or
       unfairly prejudicial because . . . .]

       Defendants’ Response: [e.g., This document is hearsay and unfairly prejudicial
       because . . . .]

       IT IS SO ORDERED.




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